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  EXHIBIT B
                                                              Filed 3/19/2020 10:11 AM
  Case 6:20-cv-00960-ADA-JCM Document 1-4 Filed 10/15/20 Page 2  of 6Staton, District Clerk
                                                              Joanna
                                                                                   District Court - Bell County, TX
                                                                                   by Melissa Wallace , Deputy



                               CAUSE NO. 316,592-C
                                         ______________

SHELBY BURDETTE,                 § IN THE DISTRICT COURT
                                 §
PLANTIFF                         §
                                 §
v.                               § 169TH
                                    _____ JUDICIAL DISTRICT
                                 §
BAYLOR SCOTT & WHITE HEALTH, LLC §
                                 §
DEFENDANT.                       § OF BELL COUNTY TEXAS


                           PLAINTIFF'S ORIGINAL PETITION

         NOE COMES, SHELBY BURDETTE, PLAINTIFF and by this Original Petition
complains of DEFENDANT, BAYLOR SCOTT & WHITE HEALTH, LLC (Hereinafter
sometimes referred to as "BSWH") and in support thereof, would respectfully show unto
the Court the following:

                                              I.

         Plaintiff plans to for Discovery to proceed under Level 2, pursuant to and in
accordance with Rule 190.3 of the Texas Rules of Civil Procedure.

                                             II.

         Plaintiff, SHELBY BURDETTE is an individual residing in Temple, Bell County,
Texas.
        Defendant, BAYLOR SCOTT & WHITE HEALTH, LLC. operates as a non-
profit healthcare organization organized and existing under the laws of the State of Texas
with offices in Temple, Bell County, Texas, and may be served with process by serving
Mr. Jin Hinton, CEO Baylor Scott & White Health, 3500 Gaston Avenue, Dallas, Texas
75246.

                                              III.
                                   Jurisdiction and Venue

         This Court has jurisdiction over Plaintiff because she is a Bell County, Texas
resident. This Court has jurisdiction over Defendant because it operates a hospital in Bell
County, Texas and Plaintiff was employed by Defendant in Bell County Texas.
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       This court has jurisdiction over the controversy because this is a case under the
Family Medical Leave Act and jurisdiction is expressly provided for in State Courts at
Section 107(2) of the statute, and the damages sought are within the jurisdictional limits
of this Court.


       Venue is proper in Bell County, Texas under the general venue rule, 15.002(1) of
the Texas Civil Practices & Remedies Code, in that Bell County, Texas is where all or a
substantial part of the events or omissions giving rise to the claim arose.


                                            IV.
                                    Factual Background

       This case arises under the Family Medical Leave Act. Plaintiff was an employee
of Defendant. Ms. Burdette had been an outstanding performer, earning numerous
commendations from her manager for her strong work performance. Unfortunately, Ms.
Burdette had serious problems with her feet. She needed surgery. Proper requests were
made a time off was scheduled for her surgery and recovery. Ms. Burdette
underestimated the recovery time, which was extended by her Scott & White doctor. All
of her time off was covered by the FMLA leave. When Ms Burdette was released to
return to work she had restrictions. Her feet were still swollen and it was difficult for her
to walk. Her doctor prescribed comfortable footwear, such as tennis shoes, and issued her
a handicapped parking ticket. She had to put ice on her feet at times during her working
hours, and was advised to walk as little as possible. Ms. Burdette's manager, Teresa Scott
did not like the restrictions. She sent an email advising all of "her" employees, including
Ms. Burdette that they cannot wear tennis shoes in her department. She refused to locate
accommodations for Burdette's feet, chair and other office equipment. She forced
Burdette to walk a very long hallway to attend a meeting. But mainly, she mocked and
ridiculed Ms. Burdette. She made fun of her feet, her shoes, her scooter, ice packs and
even the handicap parking space prescribed by her doctor.

       Ms. Burdette was a top level employee, during her time at Scott & White, in spite
of harassment by her supervisor. Ms. Burdette received numerous awards and
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commendations for her excellent work and production. This continued up until she
requested FMLA for her feet surgery. When she returned from her surgery, she was still
struggling with the pain and swelling in her feet. She was on medication for the pain.
However, she still did a good job. In the few weeks she was back, she received a gift card
from Ms. Scott for her excellent performance, and an email that was sent by her manager,
Ms. Scott, which generally stated that Ms. Scott was impressed and surprised by her
performance coming off of surgery and stating the she was still at the top of the
department. This email was copied to Ms. Scott's boss as well as Ms. Scott's coordinator,
Dionne Menefield.


       Ms. Burdette had foot surgery on both feet on or about February 12, 2018. She
was released to return to work, with restrictions related to footwear and walking, on
March 21, 2018. On May 2, 2018, in only a few weeks after her return, she was fired by
her supervisor. The alleged reason for the termination was that her work performance was
slipping. During that short period, between the time she returned from surgery and the
time she was terminated, she was commended about her high level of performance. No
suggestion was ever made to her about slipping performance level.



                                           V.
                                     Cause of Action

        This suit is brought under the Family Medical Leave Act. The act provides that
after an employee takes approved medical leave, said employee is entitled to return to the
same or similar job as said employee had before the leave was taken. In this instance, the
Plaintiff was allowed to return to the same job she had prior to the leave, but was then
harassed and belittled by her supervisor because she was not a full strength and had
doctor prescribed limitations. Defendant intentionally disregarded some of those
restrictions and mocked others. However, Defendant did acknowledge that Plaintiff was
doing a very good job upon her return from surgery, in spite of her limitations. Defendant
then, only a few weeks later terminated Plaintiff's employment for allegedly slipping
performance.
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       These actions on the part of the Defendant give rise to Plaintiff's claims that
Defendant intentionally, and knowingly violated the provisions and the spirit of the
Family Medical Leave Act. For these reasons, this suit is brought by Burdette to recover
reasonably and necessary damages resulting from the wrongful conduct of Defendant.

                                            VII.
                                          Damages

       Plaintiff. Burdette, has suffered greatly as a result of Defendant's wrongful
actions. Burdette has lost her job and any income and benefits associated with her
employment. Although she has applied for other positions, she has been unable to secure
similar employment. Burdette is seeking the loss of income and benefits in the past and in
the future as a result of the wrongful actions of Defendant. Burdette also seeks the
recovery of interest on any such damages, attorneys fees, court costs and expert witness
fees. Further, Burdette seeks damages for stress, anxiety and mental anguish in the past
and future, as well as all out of pocket expenses associated with the loss of her job,
income and benefits.


                                            VIII.
                                        Jury Request


       Plaintiff respectfully requests that this matter be tried to a jury of her peers. The
jury fee is being paid contemporaneously with the filing of this suit.

       WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully prays that
Defendant be required to file an answer, and that after a trial on the merits of the case, a
judgment be awarded in Plaintiff’s favor in the amount of all actual damages, pre and
post judgment interest, and court costs, and for all other and further relief, both legal and
equitable to which Plaintiff may show herself to be justly entitled.


                                               Respectfully Submitted,
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                                 //Scott V. Allen
                                 Scott V. Allen
                                 SBN: 01058010

                                 Scott V. Allen, Attorney at Law
                                 16 E. Avenue A, Suite 206
                                 Temple, Texas 76501
                                 (254) 774-9565
                                 (254) 774-8579
                                 email: svallen@sbcglobal.net

                                 ATTORNEY FOR PLAINTIFF
